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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
UNITED STATES DISTRICT COURT                                                February
                                                         SOUTHERN DISTRICT OF TEXAS12, 2024
                                                                                      Nathan Ochsner, Clerk


In Re: In the Matter of the Complaint of        §
Maersk Tankers, et al.                          §
                                                §
                                                §           CASE NO. 3:15-CV-000106
                                                §
                                                §
                                                §
                                                §
                                                §

                                    ORDER GRANTING
     MOTION TO WITHDRAW FUNDS FROM THE REGISTRY OF THE COURT
       Pending before the Court is movant’s Motion to Withdraw Funds from the Registry of the
Court. As evidenced by supporting documentation provided with movant’s motion, movant has
attained the age of majority. Movant’s motion, therefore is GRANTED. It is
       ORDERED that the Clerk of Court shall release funds held in the Registry of the Court on
behalf of Elliana Espinoza– principal and interest – and deliver these funds to her at the address
specified in the motion.



                      Houston
       SIGNED at ___________________, Texas, this 12th
                                                  _____ day of February
                                                               _______, 2024.



                                             __________________________________________
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                                                         _____________________
                                                                            ______
                                             JUDGE
                                             JU       PRESIDING
                                              UDGE PRES E IDING




             Kathy Nguyen
               2/9/2024
